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                                            State of New Jersey
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                                                    June 5, 2023

   The Honorable Michael A. Shipp, U.S.D.J.
   United States District Court for the District of New Jersey
   Clarkson S. Fisher Building & U.S. Courthouse
   402 East State Street
   Trenton, NJ 08608

       Re:    Defense Distributed v. Platkin, 21-cv-9867

   Dear Judge Shipp,

          The Attorney General writes to provide an update relating to Plaintiffs’ pending
   Motion to Transfer this matter to the Western District of Texas. See ECF 176 (Motion
   to Transfer or Stay). As the Court may recall, Plaintiffs sought transfer to that district
   to rejoin this matter with a pending lawsuit against United States Department of State
   officials (“USDOS”).

          On March 15, 2023, the Western District of Texas granted USDOS’s motion to
   dismiss that case. The Texas federal court dismissed the claims without prejudice, and
   ordered that any amended pleading be filed by March 29, 2023. See Defense Distributed
   v. United States Department of State, No. 18-cv-637, ECF 182 (W.D. Tex. Mar. 15,
   2023). The court also noted that as to Plaintiffs’ breach of contract claim against
   USDOS, failure to amend the complaint to plead damages below $10,000 would result
   in that claim’s transfer to the Court of Federal Claims, as required under the Little
   Tucker Act, 28 U.S.C. § 1346. Id. at 15.

          Plaintiffs did not file any amended pleading or appeal to the Fifth Circuit by the
   jurisdictional deadline. See Fed. R. App. P. 4(a)(1)(B). On April 3, 2023, the Western
   District of Texas entered an order transferring the breach of contract claim to the Court



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      of Federal Claims, see No. 18-cv-637, ECF 183 (W.D. Tex. Apr. 3, 2023), and the
      Western District of Texas docket is now terminated.

             As a result, there are no claims against USDOS remaining in Texas district court.
      That further undermines Plaintiffs’ request to retransfer this case to Texas. While
      Defendant has already explained why the demand to revisit Judge Wolfson’s prior
      rejection (twice over) of Plaintiffs’ motions fails, see No. 21-cv-9867, ECF 177, the fact
      that Plaintiffs no longer have any claims pending against the USDOS in Texas adds yet
      another. After all, Plaintiffs’ own theory of retransfer was predicated on “the interest in
      judicial economy” that would purportedly be served by combining this case with
      Plaintiffs’ case against USDOS. See No. 19-4753, ECF 54, at 4; ECF 56 at 1-2, 4-8.
      That argument was never sufficient, but it is now untenable, as there is nothing to
      combine. On the other hand, Plaintiffs agree that New Jersey is a proper venue for their
      claims against the New Jersey Attorney General regarding the validity of a New Jersey
      statute. See No. 21-cv-9867, 3d Amended Compl., ECF 180 ¶¶ 20-21 (“This Court
      constitutes a proper venue for this action[.]”). This Court should thus deny Plaintiffs’
      procedurally improper and substantively erroneous motion to retransfer.

                                           Respectfully submitted,
                                           MATTHEW J. PLATKIN
                                           ATTORNEY GENERAL OF NEW JERSEY

                                      By: /s/ Angela Cai
                                          Angela Cai
                                          Deputy Solicitor General

cc:      All counsel via ECF
